     Case 2:04-cr-00214-WHA-KFP Document 181 Filed 05/17/05 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )      CASE NO. 2:04CR214-A
                                           )      [WO]
XAVIER HOPKINS                             )

                                ORDER ON MOTION

       Upon consideration of the Motion to Withdraw, filed by appointed counsel of the

defendant on 2 May 2005 (Doc. # 152), the representations and testimony presented at the

evidentiary hearing conducted on 16 May 2005, and for other good cause, it is

       ORDERED that the motion is GRANTED. The motion to withdraw was amply

supported by undisputed evidence of (1) the absence of trust by the defendant, (2) a

breakdown in communication between attorney and defendant, and (3) the defendant’s

substantial unwillingness to accept and heed his attorney’s advice. Accordingly, it is further

       ORDERED as follows:

       1.     The court appoints JOHN POTI, Esq., as the defendant’s new attorney.

       2.     The time for filing pretrial motions is hereby RE-OPENED, and defendant’s

              new deadline for filing pretrial motions is 28 May 2005.

       3.     The trial of this case has been re-set for 29 August 2005. A pretrial hearing

              will be conducted on 31 May 2005 at 8:00 a.m. in Courtroom 5A, Frank M.

              Johnson, Jr. United States Courthouse Complex, One Church Street,

              Montgomery, Alabama.
Case 2:04-cr-00214-WHA-KFP Document 181 Filed 05/17/05 Page 2 of 2




 4.    Counsel for the parties are also ADVISED that they should be present at each

       pretrial hearing thereafter until the trial of this case. The pretrial dates are

       posted on the court’s website.

 5.    The Clerk of the court is DIRECTED to place that portion of the hearing under

       SEAL from the time of the departure of the Terry Moorer, Esq., the Assistant

       United States Attorney, until the conclusion of the hearing. The proceedings

       shall remain under SEAL until further order of the court.

 6.    Although the final consent date for the trial of this case is 22 August 2005,

       counsel are encouraged, if appropriate, to seek the earliest consent date

       practicable.

 DONE this 17th day of May, 2005.




                                    /s/ Vanzetta Penn McPherson
                                    VANZETTA PENN MCPHERSON
                                    UNITED STATES MAGISTRATE JUDGE
